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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

                                    )
KIMBERLY C. BROWN,                  )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )              Civil Action No. 3:20-cv-02922-JMC-TER
                                    )
EATON CORPORATION,                  )
                                    )
                  Defendant.        )
____________________________________)

                           RULE 502(d) PROTECTIVE ORDER

       Presently before the Court is a motion by Defendant Eaton Corporation (hereinafter

“Defendant” or “Eaton”) for entry of a protective order pursuant to Federal Rule of

Evidence 502(d).   Having carefully considered Defendant’s Motion, Defendant’s request is

GRANTED as follows:

       The production of privileged or work-product protected documents, electronically stored

information (“ESI”) or information, whether inadvertent or otherwise, is not a waiver of the

privilege or protection from discovery in this case or in any other federal or state proceeding.

This Order shall be interpreted to provide the maximum protection allowed by Federal Rule of

Evidence 502(d).

       IT IS SO ORDERED.

                                                   s/Thomas E. Rogers, III
                                                   Hon. Thomas E. Rogers, III
                                                   UNITED STATES MAGISTRATE JUDGE
November 3, 2020
Florence, South Carolina
